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                         EXHIBIT 5
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 7

 8
                              UNITED STATES DISTRICT COURT
 9
                           NORTHERN DISTRICT OF CALIFORNIA
10
                                 SAN FRANCISCO DIVISION
11

12    SECURITIES AND EXCHANGE                     Case No. 06-cv-06384 CRB
      COMMISSION,
13                                                STIPULATION CONTINUING HEARING
                                     Plaintiff,   DATE ON MOTIONS TO DISMISS OF
14                                                DEFENDANTS PEREIRA, STANTON,
            v.                                    AND FELDMAN AND MOTION TO
15                                                STRIKE OF SECURITIES AND
      ROMULUS S. PEREIRA, ROBERT B.               EXCHANGE COMMISSION AS TO
16    STANTON, L. JOHN KERN, ANDREW D.            DEFENDANT MCFARLAND;
      FELDMAN, WILLIAM F. MCFARLAND,              PROPOSED ORDER
17    LORI H. CORNMESSER,
                                                  New Date: March 9, 2007
18                              Defendants.       Time:     10:00 a.m.
                                                  Dept:     Courtroom 8
19                                                Judge:    The Honorable Charles R. Breyer

20                                                Date Compl. Filed:    October 12, 2006

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     Case 3:06-cv-06384-CRB
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 1        Pursuant to Civil Local Rules 6-2 and 7-12, Plaintiff Securities and Exchange

 2    Commission (“SEC”) and Defendants Romulus Pereira, Robert Stanton, and Andrew

 3    Feldman stipulate that the hearing date on Defendants’ Motions to Dismiss be continued

 4    to March 9, 2007, the same date the parties are scheduled to appear before the Court for

 5    the Case Management Conference. The SEC and Defendant William McFarland

 6    also stipulate that their hearing on Plaintiff’s Motion to Strike be continued to March 9,

 7    2007.1

 8        On February 13, 2007, the Court continued the February 16, 2007 Law & Motion

 9    date to March 2, 2007. Unfortunately, Counsel for Messrs. Pereira and Stanton are

10    unable to appear on March 2, 2007. Counsel requests a continuance of the March 2,

11    2007 Law & Motion date to a date when all parties are available to appear, March 9,

12    2007, and all relevant parties have agreed.

13
      DATED: February 21, 2007
14
                                                    Respectfully submitted,
15

16                                                  /s/ Elliot R. Peters

17                                                  Elliot R. Peters
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20                                                  Attorney for Defendants
                                                    ROMULUS S. PEREIRA
21
                                                    ROBERT B. STANTON
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      1
        Although there were previously several more Motions to Strike on calendar, the parties have
26    stipulated to withdraw all Motions to Strike. The SEC and Defendant McFarland stipulated to
      withdraw the SEC’s Motion to Strike on February 15, 2007, but that Stipulation has not yet been
27    approved by the Court. Thus, what remains on calendar are two Motions to Dismiss (that of
      Messrs. Pereira and Stanton, and that of Mr. Feldman) and one Motion to Strike (SEC’s Motion
28    to Strike Mr. McFarland’s Affirmative Defenses).


                                 STIPULATION TO CONTINUE HEARING DATE
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12                                        ANDREW FELDMAN
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14
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                                          Attorney for Defendant
18                                        WILLIAM MCFARLAND
19

20
      PURSUANT TO STIPULATION, IT IS SO ORDERED.
21
      DATED:
22

23                                        The Honorable Charles R. Breyer
                                          United States District Judge
24

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     Case 3:06-cv-06384-CRB
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 1                                   CERTIFICATE OF SERVICE

 2           I hereby certify that on February 21, 2007, I electronically filed the foregoing

 3    STIPULATION CONTINUING THE HEARING DATE ON MOTIONS TO DISMISS OF

 4    DEFENDANTS PEREIRA, STANTON, AND FELDMAN with the Clerk of the Court using the

 5    CM/ECF system which will send notification of such filing to the following individuals at their

 6    e-mail addresses:

 7           David Banie        david.banie@dlapiper.com, trina.walker@dlapiper.com

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26    Dated: February 21, 2007                              /s/ Laura Lind
                                                            Laura Lind
27

28
